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                      IN THE UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT


       STATE OF NEW YORK, et al.,
                     Plaintiffs-Appellees,
                           v.                                             No. 25-1138
       DONALD J. TRUMP, in his official capacity as
       President of the United States, et al.,
                     Defendants-Appellants.


                DEFENDANTS-APPELLANTS’ UNOPPOSED MOTION TO
                        VOLUNTARILY DISMISS APPEAL

            Pursuant to Federal Rule of Appellate Procedure 42(b), defendants-appellants

      move to dismiss this appeal, with each party to bear its own costs. Counsel for

      plaintiffs-appellees has authorized us to state that plaintiffs-appellees do not oppose

      this motion.

                                                    Respectfully submitted,

                                                        DANIEL TENNY

                                                         /s/ Brian J. Springer
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      February 2025
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                            CERTIFICATE OF COMPLIANCE

            This motion complies with the type-volume limit of Federal Rule of Appellate

      Procedure 27(d)(2)(A) because it contains 44 words. This motion also complies with

      the typeface and type-style requirements of Federal Rules of Appellate Procedure

      27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word 2016 in

      Garamond 14-point font, a proportionally spaced typeface.



                                                      /s/ Brian J. Springer
                                                     Brian J. Springer
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                                CERTIFICATE OF SERVICE

            I hereby certify that on February 13, 2025, I electronically filed the foregoing

      motion with the Clerk of the Court for the United States Court of Appeals for the

      First Circuit by using the appellate CM/ECF system. Participants in the case are

      registered CM/ECF users, and service will be accomplished by the appellate

      CM/ECF system.


                                                        /s/ Brian J. Springer
                                                       Brian J. Springer
